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                       SHE R T R E M O N T E                   LLP



                                                              November 20, 2020


BY ECF

The Honorable Paul A. Engelmayer
United States District Judge
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007


       Re:     United States v. Ari Teman
               Case No. 19-cr-696 (PAE)


Dear Judge Engelmayer:

        We write on behalf of our client, Ari Teman, in response to the Court’s order
dated November 19, 2020 concerning the scheduling of sentencing. In light of the
ongoing public health crisis and particular considerations regarding the welfare of Mr.
Teman, we respectfully request that the Court maintain the December 1, 2020 sentencing
date but order that the sentencing be conducted remotely pursuant to the CARES Act.

        As Your Honor knows, Mr. Teman was convicted in January of this year and has
been on home detention since that time. Since Mr. Teman’s conviction, the world has
experienced a once-in-a-century global pandemic that has made all but essential travel
inadvisable from a public health standpoint. See Mike Stobbe & Heather Hollingsworth,
CDC pleads with Americans to avoid Thanksgiving travel, Associated Press, Nov. 20,
2020, https://apnews.com/article/cdc-guidelines-thanksgiving-holidays-
597a53e6cd8a7565c8f1433e6a3e2efd. As discussed in Mr. Teman’s sentencing
submission, Mr. Teman is especially vulnerable to COVID-19 due to longstanding
respiratory issues. See generally Ltr. of Zvi M. Osterweil, M.D., Dkt. # 149, Ex. 1.
Nevertheless, while the Court in its November 19, 2020 order invited a request to adjourn
sentencing, Mr. Teman’s countervailing mental health concerns compel us to request that
sentencing proceed on the current schedule. We plan to provide the Court with additional
material regarding Mr. Teman’s mental health early next week, but it suffices to say now
that the ongoing pendency of the case has significantly exacerbated ongoing struggles to
such a degree that we believe it is important for Mr. Teman not to delay resolution of this
matter further. We have advised Mr. Teman of his option to adjourn sentencing and
appear in person, and he consents to proceeding on the current schedule remotely.

        We have discussed the foregoing with Assistant U.S. Attorney Kedar Bhatia, and
he has advised that, in light of these issues, the government is considering its position but
cannot give its consent at this time. However, in light of the Court’s request that we
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respond promptly, we wanted to file this request even as the government considers its
position. We note that under the CARES Act, the Court may order remote sentencing
even in the absence of the government’s consent, based on a finding that sentencing
should not be further delayed in the interest of justice. See CARES Act
§ 15002(b)(2)(A). Accordingly, we respectfully request that the Court maintain the
December 1, 2020 sentencing date and order that sentencing be conducted remotely.1

       We appreciate the Court’s consideration.

                                             Respectfully submitted,

                                             /s/
                                             Justine Harris
                                             Noam Biale


cc:    All Counsel of Record




1
        If the Court wishes to have the lawyers appear in person, Ms. Harris is available
to do so.
